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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION



 TYCO FIRE PRODUCTS LP,                              Civil Action No. 2:23-cv-02384-RMG
                                        Plaintiff,
                        v.

 AIU INSURANCE COMPANY, et al.

                                     Defendants.


                                              ORDER

       After careful consideration, the Court DENIES Defendants AIU Insurance Company,

American Home Assurance Company, Granite State Insurance Company, Insurance Company of

the State of Pennsylvania, National Union Fire Insurance Company of Pittsburgh, Pa., and New

Hampshire Insurance Company (collectively, the “AIG Insurers”)’s motion to dismiss or stay this

action. (Dkt. No. 283). As established by prior order, this Court has jurisdiction over this matter

and declines to abstain in favor of the Wisconsin Action. See, e.g., (Dkt. No. 103 at 15-19); (Dkt.

No. 196). That said, Public Water System plaintiffs in the AFFF MDL have moved for preliminary

approval of a class action settlement agreement with Plaintiff Tyco Fire Products LP (“Tyco”). See

City of Camden, et al. v. Tyco Fire Products LP, et al., C.A. No. 2:24-cv-2321-RMG. As Tyco

will not participate in the telomer bellwether trial, the Court finds it appropriate to enter a new

scheduling order reflecting this development but still providing for the prompt resolution of this

matter. See (Dkt. No. 103 at 19) (“Considering the importance of a timely adjudication of

Plaintiff’s coverage issues to the potential resolution of the thousands of cases pending against

Tyco in the AFFF MDL, the Court has determined it cannot responsibly abstain from the exercise

of its jurisdiction over these coverage disputes. Consequently, in the exercise of its discretion, the
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Court denies Defendants’ requests to abstain in this action.”). Accordingly, the parties are directed

to meet and confer and propose a joint amended scheduling order for the Court’s consideration

within 10 days of this order. If the parties cannot agree on a scheduling order, the parties shall

submit their respective proposals.


       AND IT IS SO ORDERED.




                                                              s/Richard Mark Gergel
                                                              Richard Mark Gergel
                                                              United States District Court


       April 29, 2024

       Charleston, South Carolina




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